                Case 1:18-cv-09936-LGS Document 296 Filed 11/04/20 Page 1 of 1
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November 4, 2020

Hon. Lorna Schofield, Judge
c/o Clerk of Court
500 Pearl Street
New York, NY 10007
No.: 1:18-cv-09936-LGS

RE: Appeal to the United States Supreme Court and Motions in a Related Case No. 1:20-cv-07311-LAK


Your Honor:

        Prior to U.S.C.A. Mandate at Dkt. 295 appearing on the docket reports, on October 12, 2020, I
filed a petition for a writ of certiorari on the U.S.C.A. for the Second Circuit’s decision to the Supreme
Court of the United States. Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y.
20__), appeal denied No. 20-1706 (2d Cir. 20__), pending cert., No. __-___ (U.S. 20__). With my writ
of certiorari, I also filed a motion for court-appointed counsel. Id. (not appearing on public dockets yet).

       After my petition to the Supreme Court, on October 27, 2020, I filed a motion for permissive
intervention in another case which President Trump is a party. Carroll v. Trump, No. 1:20-cv-07311-
LAK (S.D.N.Y. 20__), Dkt. 33. On the same date, Ms. Kaplan filed a memorandum ofin opposition to
my motion for permissive intervention. Carroll v. Trump, No. 1:20-cv-07311-LAK (S.D.N.Y. 20__),
Dkt. 35. On October 28, 2020, the Carroll court denied my motion for permissive intervention. Carroll
v. Trump, No. 1:20-cv-07311-LAK (S.D.N.Y. 20__), Dkt. 36. Then, before the Southern District Court
of New York, I filed a motion for court-appointed counsel. Carroll v. Trump, No. 1:20-cv-07311-LAK
(S.D.N.Y. 20__), Dkt. 37. The District Court has not ruled on my motion for court-appointed counsel
yet. Carroll v. Trump, No. 1:20-cv-07311-LAK (S.D.N.Y. 20__).

       Not unusual in the court of events, I am planning on waiting for the Supreme Court and the
Carroll court to rule, before any further action.


Sincerely,




/s/ Raj Patel
